Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 1 of 9
Case 23-50451-AEC     Doc 11     Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                                Document      Page 2 of 9




                /s/


                Kiana Witcher
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 3 of 9
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 4 of 9
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 5 of 9
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 6 of 9




                                       /s/
    Kiana Witcher
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 7 of 9
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 8 of 9
Case 23-50451-AEC   Doc 11    Filed 05/09/23 Entered 05/09/23 00:52:50   Desc Main
                             Document      Page 9 of 9
